              Case 3:19-cv-00238 Document 218 Filed on 07/02/21 in TXSD Page 1 of 2




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                                                             July 2, 2021


Judge Jeffrey Brown
United States District Judge
Southern District of Texas, Galveston Division
601 Rosenberg Street, Sixth Floor
Galveston, Texas 77550

RE:               Civil Action No.: 3:19-cv-238; Jana Reed, Individually and as Representative of the
                  Estate of Christopher Reed, et al v. Maersk Line-Ltd, USA, et al; In the United States
                  District Court for the Southern District of Texas.

Dear Judge Brown:

        We write this letter to correct any misimpression concerning communications between
counsel on the issue of Marcus Maher’s participation as a witness at trial. On page 44 of
Defendants’ Reply Brief, Defendants say they approached Plaintiffs’ counsel on the afternoon of
Wednesday, May 19, 2021, to discuss the fact that Defendants’ counsel did not have any
witnesses “prepared to testify” the following day. On the following page, they say they cleared
the plan with opposing counsel not to call any witnesses on Thursday, May 20, 2021.

        To set the record straight, here is what occurred. The parties had an agreement each
evening to tell the other which witnesses it would call the next day. Plaintiffs advised opposing
counsel and the Court that we would rest on Thursday. On Wednesday evening, we advised
counsel that we would call two witnesses Thursday morning and then rest. We also asked who
they would call on Thursday after we rested. They said they were unsure. When I arrived back at
the hotel after business hours, I sent two emails to Mr. Lightsey asking the identity of their
witnesses for the next day. I received no response. Later, while in the hotel lobby, I ran into Jim
Brown and asked him who they were going to call the next day. He said they had “no witnesses
for tomorrow.” Mr. Crew later talked with Mr. Brown and he was told the same thing. Both Mr.
Crew and myself believed there were no defense witnesses available and decided therefore not to
object the following day. Neither of us was ever told that Marcus Maher was available and was
      Case 3:19-cv-00238 Document 218 Filed on 07/02/21 in TXSD Page 2 of 2




going to be prepared for more than 4 hours at The Tremont House on Thursday so he could
testify on Friday morning. Had we been told, we would have objected.

       We do not know counsel’s intent in using the words in the brief concerning this issue but
want to correct any potential misimpression about what actually occurred.



                                                   Very truly yours,

                                                   /s/ John W. Stevenson, Jr.
                                                   John W. Stevenson, Jr.



JWS/aa
Enc.

cc:    Thomas N. Lightsey, III
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